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                          Exhibit 1-Z
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment


             U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 1Z
                                                         White Decl. ISO Disney's SJ Motion P.0533
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                          9                       UNITED STATES DISTRICT COURT FOR THE
DOGALI LAW GROUP, P.A.




                                                     CENTRAL DISTRICT OF CALIFORNIA
                         10
                              T.P., et al.,                                           )   Case No.: 15-cv-5346-R
                         11                                                           )
                                               Plaintiffs,                            )   NOTICE OF SERVING
                         12
                                                                                      )   PLAINTIFFS K.A.C. AND J.L.C.’S
                                       v.                                             )   ANSWERS TO DEFENDANT’S
                         13
                                                                                      )   FIRST INTERROGATORIES
                              WALT DISNEY PARKS AND                                   )
                         14
                              RESORTS U.S. INC.,                                      )
                                                                                      )   Hon. Manuel L. Real
                         15
                                               Defendant.
                         16                                                      /

                         17

                         18           Plaintiffs, K.A.C. by and through J.L.C., as Next Friend, Parent and

                         19   Natural Guardian, and J.L.C., individually, by and through undersigned

                         20   counsel, and pursuant to Fed.R.Civ.Proc. 33, gives notice of serving their

                         21                                                    Page 1
                               Notice of Serving and Plaintiffs K.A.C.  and J L.C.’s Answers to Defendant’s First Interrogatories
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                          1   Answers to Defendant’s First Interrogatories to Plaintiffs dated March 8,

                          2   2016.

                          3                                    CERTIFICATE OF SERVICE

                          4           I HEREBY CERTIFY that on this 4th day of May, 2016 a true and

                          5   correct copy of the foregoing was furnished via Electronic Mail to:

                          6      Kerry Scanlon, Esq.                                    Rhonda Trotter
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                         15
                                                                               DOGALI LAW GROUP, P.A.
                         16
                                                                                /s/Andy Dogali
                         17                                                    Andy Dogali
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                          1                                                    And

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                          9                       UNITED STATES DISTRICT COURT FOR THE
DOGALI LAW GROUP, P.A.




                                                     CENTRAL DISTRICT OF CALIFORNIA
                         10
                              T.P., et al.,                                           )   Case No.: 15-cv-5346-R
                         11                                                           )
                                               Plaintiffs,                            )   PLAINTIFFS K.A.C. AND J.L.C.’S
                         12
                                                                                      )   ANSWERS TO DEFENDANT’S
                                       v.                                             )   FIRST INTERROGATORIES
                         13
                                                                                      )
                              WALT DISNEY PARKS AND                                   )
                         14
                              RESORTS U.S. INC.,                                      )   Hon. Manuel L. Real
                                                                                      )
                         15
                                               Defendant.
                         16                                                      /

                         17           Plaintiffs, K.A.C. by and through J.L.C., as Next Friend, Parent and

                         18   Natural Guardian, and J.L.C., individually, by and through undersigned

                         19   counsel, and pursuant to Fed.R.Civ.Proc. 33, Answers Defendant’s First

                         20   Interrogatories to Plaintiffs dated March 8, 2016 as follows:

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                          1           Receives a special education designed for autism and
                                      accommodations including, but not limited to, speech therapy,
                          2           physical therapy, occupational therapy and dog therapy.
                          3

                          4            7.      Identify any educational assessments conducted of K.A.C. in

                          5    connection with his or her cognitive disabilities (including when they

                          6    were performed and who performed them), and describe the results of
                          7    such assessments.
                          8           ANSWER:
                          9
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                                      Plaintiff objects to this request in that it improperly seeks to
                                      require Plaintiff to summarize medical records and reports, as well
                         10           as the opinion of medical providers. Subject to the foregoing
                                      objection, Plaintiff will produce medical records in their
                         11
                                      possession, custody and control which contain the requested
                                      information.
                         12

                         13
                                       8.      Identify any visits made by K.A.C. to any Disney Park in the
                         14
                               past five (5) years, including but not limited to the following:
                         15
                                               a.       any services or accommodations provided to K.A.C.
                         16
                                                        during each visit, including the issuance of any GAC
                         17
                                                        cards;
                         18
                                               b.      all rides, attractions, shows, stores, meet and greets,
                         19
                                                       and       other       activities      that      K.A.C.      attended         or
                         20
                                                       participated in during the visit; and
                         21                                                   Page 12
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                          1                    c.      the specific order of rides and/or attractions that

                          2                            K.A.C. experienced or attended during each of the

                          3                            visits.

                          4           ANSWER:

                          5           2011- Disneyland (GAC) – We would get the GAC, then go on the rides.
                                      They would let us enter using the disabled entrance (back door or side
                          6           entrance) and they we would get on the ride with minimal wait. Would
                                      do rides for a couple of hours and then they would go back to the hotel.
                          7
                                      March, 2013 – Disneyworld (GAC) – same as above.
                          8
                                      March 10 -15, 2014 – Disneyworld (DAS): We brought medical
                          9
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                                      documentation, but employees would not look at it.

                         10           Day 1: Epcot: Spoke to Tammy in Guest Services about K.A.C.’s
                                      disability needs. Given 2 FP’s and told to come back if she had any
                         11           problems using the DAS. Didn’t use the DAS at Epcot, used the FP’s.

                         12           Day 2: Animal Kingdom: Tried to use the DAS. All kinds of problems,
                                      being told different things. Attempted to use DAS at Bug. J.L.C. took
                         13           K.A.C. out of his wheelchair, and walked with him to the front of the
                                      attraction, expecting to be able to enter. The employee turned them
                         14           away and refused to sign the DAS card. We attempted to speak with
                                      another Disney Employee at the ride’s standby line, only to be directed
                         15           to a nearby FP kiosk. J.L.C. helped K.A.C. back into his wheelchair,
                                      walked over to the kiosk, and requested to speak with a manager.
                         16           Discussed the situation with the Manager, reiterated the need for an
                                      accommodation, such as a FP. Meanwhile, K.A.C. abandoned his
                         17           wheelchair out of frustration and suffered a meltdown. He could not
                                      understand the concept of arriving at the attraction, only to be turned
                         18           away and told to return at a later time. The Manager refused to give
                                      FP’s and instead escorted us back to the ride and directed the employee
                         19           who turned us away, to allow us in.

                         20

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                          1           Day 3: Magic Kingdom: Had to wait in several long lines. On the third
                                      day of their visit, K.A.C. and J.L.C. visited Magic Kingdom. K.A.C. and
                          2           J.L.C. encountered extended wait times for Mad Tea Party, Dumbo, and
                                      Tomorrowland Speedway. K.A.C. had a meltdown at Mad Tea Party due
                          3           to being forced to enter the ride through the FastPass entrance. Adding
                                      to the frustration were employee’s repeated inabilities to sign K.A.C.’s
                          4           DAS card; with only one exception – The Barnstormer. We were forced
                                      to wait in the regular line with other, non-disabled children.
                          5
                                      Day 4: Hollywood Studios: First stop was Buzz Lighyear. We received
                          6           a 65 minute return time. The standard line had the same wait time. At
                                      American Idol experience, KAC had a meltdown and had to leave the
                          7           show early. We left Hollywood Studios and returned to Epcot, hoping to
                                      speak with Tammy again. Since Tammy was unavailable, I spoke with
                          8           Josh, instead. I told Josh about the difficulties we were experiencing in
                                      the Parks as a result of the DAS. On the edge of tears, I begged Josh for
                          9           two FastPasses. Josh agreed, but warned the FastPasses could only be
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                                      used at Epcot because every Disney Park applied the DAS differently.
                         10
                                      Day 5: K.A.C. could not return to the Parks. He remained in the room
                         11           with the special respite provider hired to accompany them.

                         12
                                      November 24-26, 2014 - Disney World (DAS)
                         13
                                      Day 1: Magic Kingdom: Received DAS and 5 FP’s at Guest Services.
                         14           Experienced 50 min wait at Speedway, 20 min wait at Tea Cups; 25 min
                                      wait at Mini-Roller Coaster.
                         15
                                      Day 2: Animal Kingdom: Again had problems at Animal Kingdom.
                         16           Went to Guest Services and asked them to check their complimentary
                                      cards. Requested FP’s. Employee, Susan, demanded to know where she
                         17           received passes from and when told “April Sullivan,” employee would
                                      not give FP’s. Instead Susan offered to arrange wait times in advance.
                         18           Spoke to employee, Elise, who also refused to offer any FP’s and
                                      advised that Magic Kingdom was able to offer more FP’s because they
                         19           have more attractions. Tried to arrange ride times online, but all the
                                      rides were already booked.       Arranged times for Dinosaur and
                         20           Killamanjro Safari, saw the Lion King Show, then done at Animal

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                          1           Kingdom. K.A.C. was frustrated at Dinosaur due to arriving at the front
                                      of the ride and being told to come back. Employee, Joe, told us our time
                          2           on the ride expired. He began to insolently question me in front of
                                      everyone why we were “late to the ride.” I had to explain that K.A.C.
                          3           has special needs and it took longer to get to the ride. Later that
                                      evening, we went to Guest Services at Epcot, and requested FP’s.
                          4           Received 2 FP’s. We were given an Identification number for the next
                                      time we come back to access “notes on account” in the future.
                          5
                                      Day 3: Epcot: Used 2 Fastpasses received the previous evening. Also
                          6           received a 110 minute wait time at Soarin’ after presenting DAS card.

                          7
                                      Do not recall all rides, order of rides, attractions, shows, etc. We usually
                          8           have some of the same repeat rides.

                          9
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                         10
                                       9.      Identify any tickets or annual passes used to gain admission
                         11
                               to any Disney Park in the past five (5) years, including the date of
                         12
                               renewal for any annual passes, if applicable.
                         13
                                      ANSWER:
                         14
                                      We never had annual passes. The only tickets we still have available
                         15           are the complimentary ones sent by April Sullivan and the first time
                                      we used those was November, 2014 with some still remaining. The
                         16           numbers on the cards are: 3772 7627 005E; 3372 2526 101E; and
                                      3772 2627 204E.
                         17

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                          1            10.     Identify any alleged route, repeat riding, routine, or other

                          2    alleged need of K.A.C. to experience the attractions at any Disney Parks.

                          3         ANSWER: No specific order. Favorite rides are below. We also
                              get a wheelchair.
                          4
                              Magic Kingdom
                          5        Astro Orbiter
                                   The Barnstormer (Repeat Rider)
                          6        Buzz Lightyear Space Ranger Spin
                                   Dumbo
                          7        It’s a small world
                                   Jungle Cruise
                          8        Mad Tea party (Repeat Rider)
                                   Magic Carpets of Aladdin
                          9
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                                   Many adventures of Winnie the Pooh
                                   Seven Dwarfs Mine Train (Repeat rider)
                         10        Tomorrowland Speedway
                                   Tomorrowland PeopleMover
                         11        Monsters Inc Laugh Floor
                         12   Epcot
                                   Soarin (Repeat Rider)
                         13
                                   Spaceship Earth (Repeat Rider)
                                   The Seas: Nemo and Friends
                         14
                              Animal Kingdom
                         15
                                  Dinosaurs (Repeat Rider)
                                  It’s tough to be a Bug
                         16
                                  Kali River Rapids
                         17       Kilimanjaro safaris
                                  Festival of the Lion King
                         18
                              Hollywood Studios
                         19        Toy Story Midway Mania (Repeat Rider)

                         20

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                          1            11.     Identify any trips or vacations taken by K.A.C. within the past

                          2    five (5) years and indicate the whether K.A.C. travelled by car or plane

                          3    for each such trip or vacation.

                          4           ANSWER:

                          5           2011:    Couple trips to Louisiana by car
                                      2011:    Disneyland; San Diego Zoo by airplane
                          6           2012:    San Antonio by car; Louisiana by car
                                      2013:    Louisiana by car; Orlando by car
                          7           2014:    Trips To Louisiana by car; couple of trips to Orlando by airplane
                                      2015:    San Antonio by car; Galveston by car
                          8

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                         10

                         11

                         12            12.     Identify any visits you plan to make to any Disney Park in the
                         13    future, including the dates of such planned visits, and the Disney Parks
                         14    you plan to attend.
                         15
                                      ANSWER:
                         16
                                      We plan to visit sometime this year with the passes and complimentary
                                      rooms we were given. This would be a trip for my daughter to
                         17
                                      celebrate graduation from college and getting in medical school. Not
                                      sure of the dates yet or the parks we plan to attend. We plan to visit
                         18
                                      Atlanta and also Universal Studios.
                         19

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